57 F.3d 1070NOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.
    Helen E. PURYEAR, Plaintiff-Appellant,v.COMMISSIONER OF SOCIAL SECURITY, Defendant-Appellee.
    No. 94-5861.
    United States Court of Appeals, Sixth Circuit.
    June 13, 1995.
    
      1
      Before MARTIN and SILER, Circuit Judges;  JOINER, District Judge.*
    
    ORDER
    
      2
      On appeal from a judgment of the district court affirming the decision of the Secretary,
    
    
      3
      This cause came on to be heard on the record compiled before the Secretary, the record of district court proceedings and briefs and oral argument of the parties.  Upon due consideration thereof the court concludes that the findings and decision of the Secretary are supported by substantial evidence on the record as a whole.
    
    
      4
      It is therefore ORDERED that the judgment of the district court in this case be and it hereby is affirmed.
    
    
      
        *
         The Honorable Charles W. Joiner, Senior District Judge for the Eastern District of Michigan, sitting by designation
      
    
    